                                                                                                                                                 3/31/23 1:08PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Willapa Logging Co., Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2750 Ocean Ave                                                  PO Box 232
                                  Raymond, WA 98577                                               Raymond, WA 98577
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pacific                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Willapa Logging Co., Inc.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Willapa Logging Co., Inc.                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Willapa Logging Co., Inc.                                                    Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Willapa Logging Co., Inc.                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 31, 2023
                                                  MM / DD / YYYY


                             X   /s/ Ryan Oatfield                                                        Ryan Oatfield
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Brett L. Wittner                                                      Date March 31, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Brett L. Wittner 27657
                                 Printed name

                                 Morton McGoldrick, PLLC
                                 Firm name

                                 820 A Street, Suite 600
                                 Tacoma, WA 98402
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     253-473-7200                  Email address      blwittner@bvmm.com

                                 27657 WA
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Willapa Logging Co., Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 31, 2023                  X /s/ Ryan Oatfield
                                                           Signature of individual signing on behalf of debtor

                                                            Ryan Oatfield
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            Willapa Logging Co., Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           307,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           838,746.31

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,145,746.31


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           841,522.45


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           222,269.48

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,225,533.99


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,289,325.92




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Willapa Logging Co., Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Bank of the Pacific                               Checking                              1603                                       $939.81




          3.2.     Bank of the Pacific                               Savings                                                                          $614.37



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,554.18
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1



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Debtor       Willapa Logging Co., Inc.                                                      Case number (If known)
             Name


          11a. 90 days old or less:                    18,041.10       -                                   0.00 = ....                   $18,041.10
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                           $18,041.10
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used     Current value of
          Include year, make, model, and identification numbers            debtor's interest         for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                    (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   1999 Kenworth W900B tri/a log truck,
                  Cat 3406E-435hp, RTLO18718B-18
                  speed, DS404-40,000 rears w/3.25 ratio,
                  8 bag suspension, drop axle, scales,
                  1978 Peerless t/a log trailer. Miles:
                  393,000.                                                           Unknown                                             $35,000.00


          47.2.   1999 Kenworth T800 tri/a log truck, Cat
                  C15, 18 speed, 8 bag suspension, drop
                  axle, scales, 1998 Whitlog t/a log trailer.
                  Miles: 372,000.                                                    Unknown                                             $30,000.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 2



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Debtor      Willapa Logging Co., Inc.                                                 Case number (If known)
            Name

         47.3.   1993 Kenworth T800 tri/a log truck, Cat
                 3406, 18 speed, block beam suspension,
                 drop axle, scales, 1999 Betterweigh t/a
                 log trailer.                                                  Unknown                                   $25,000.00


         47.4.   2011 Chevrolet Silverado 1500 4x4
                 pickup, V8, automatic. Miles: 210,000.                        Unknown                                    $6,000.00


         47.5.   2003 Chevrolet Silverado 1500 extended
                 cab 4x4 pickup, V8, automatic.                                Unknown                                    $1,000.00


         47.6.   1999 Chevrolet Silverado 1500 extended
                 cab 4x4 pickup, V8, automatic.                                Unknown                                    $2,000.00


         47.7.   2003 Chevrolet 2500HD crewcab 4x4
                 pickup, V8, automatic, toolbox, auxillary
                 tank.                                                         Unknown                                    $1,500.00


         47.8.   1998 Ford F-150 extended cab 4x4
                 pickup, V8, automatic. Non-operational.                       Unknown                                         $500.00


         47.9.   1991 GMC 2500 4x4 pickup.                                     Unknown                                         $300.00


         47.10
         .     Kenworth T800 parts truck                                       Unknown                                    $1,500.00


         47.11 Chevrolet extended cab 4x4.
         .     Non-operational.                                                Unknown                                         $500.00



48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         2014 Hyundai Robext R330LC-9A hydraulic log
         loader, jewel grapple, high/wide, elevated cab,
         rear camera. Missing final drive.                                     Unknown                                   $50,000.00


         2016 Komatsu XT460L-3 Feller Buncher,
         Quadco Head, Auto Lube. Repairs being
         made. Non-operational.                                                Unknown                                  $125,000.00


         2007 Cat 325D FM dangle head processor, log
         max 7000st head, high/wide/ elevated cab.
         Hrs: 28,000                                                           Unknown                                   $60,000.00




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                 page 3



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Debtor      Willapa Logging Co., Inc.                                      Case number (If known)
            Name

         2018 Doosan DX380LL-5 hydraulic log loader,
         jewel grapple, high/wide, elevated cab, rear
         camera. Hrs: 10,400                                         Unknown                                 $125,000.00


         2014 Doosan DX300LL-3 hydraulic log loader,
         rotobec grapple, high/wide, elevated cab.                   Unknown                                  $70,000.00


         1999 John Deere 330LC hydraulic log loader,
         young grapple, high/wide, elevated cab.                     Unknown                                   $5,000.00


         1978 Cat D7G crawler tractor, s/blade w/tilt,
         canopy w/sweeps, winch w/arch.                              Unknown                                  $13,000.00


         1969 Cat D6C crawler tractor, s/blade w/tilt,
         canopy w/sweeps, winch w/arch.                              Unknown                                  $10,000.00


         1971 Cat D8H crawler tractor, s/u blade w/tilt,
         canopy, winch w/arch, runs but has steering
         clutch issues.                                              Unknown                                  $13,000.00


         1970 Cat D8H crawler tractor, s/blade w/tilt,
         canopy w/sweeps, winch. Runs but has
         steering and clutch issues.                                 Unknown                                  $13,000.00


         Cat D8H crawler tractor. Non-operational.                   Unknown                                   $8,000.00


         Cat D7G crawler tractor. No engine.
         Non-operational.                                            Unknown                                   $5,000.00


         1981 Madill 071 crawler yarder, Detroit 8V71,
         mainlines, guidlines, cab.                                  Unknown                                  $80,000.00


         1976 Skagit T109 portable slackline yarder, Cat
         6 cylinder, mainline, guideline, t/a carrier, t/a
         dolly. Been sitting and operation unknown.                  Unknown                                  $40,000.00


         Bowman MK8900 motorized carriage.                           Unknown                                  $25,000.00


         2019 Eagle E6 motorized carriage                            Unknown                                  $25,000.00


         Custom built power unit.                                    Unknown                                        $500.00


         Group of cable                                              Unknown                                   $1,500.00


         Texas Bragg t/a water trailer.                              Unknown                                   $4,000.00


         Cat 325D FM parts machine                                   Unknown                                  $10,000.00


Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property                           page 4



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Debtor       Willapa Logging Co., Inc.                                                Case number (If known)
             Name



          2 Cat car bodies                                                     Unknown                                              $3,000.00


          Cat car bodies and frames                                            Unknown                                              $4,000.00


          Misc. non-running trucks and equipment.                              Unknown                                              $1,000.00


          Unused dozer rails.                                                  Unknown                                              $7,000.00


          Grapple parts.                                                       Unknown                                              $1,000.00


          Dangle head, parts only.                                             Unknown                                              $1,000.00


          A-Frame with hoist.                                                  Unknown                                                $500.00


          Shop tools and supplies.                                                  $0.00                                           $2,500.00



51.       Total of Part 8.                                                                                                   $806,300.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of       Valuation method used     Current value of
          property                              extent of            debtor's interest       for current value         debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 5



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Debtor      Willapa Logging Co., Inc.                                                   Case number (If known)
            Name

         55.1.   Real property located
                 in Pacific County:
                 Parcel No.
                 71004000018.
                 Assessed value
                 $93,300.
                 Parcel No.
                 71004000020.
                 Assessed value
                 $23,800.
                 Parcel No.
                 72048001005.
                 Assessed value
                 $16,500.
                 Parcel No.
                 72048001011.
                 Assessed value
                 $13,800.
                 Parcel No.
                 72048006001.
                 Assessed value
                 $34,600.
                 Parcel No.
                 72048009001.
                 Assessed value
                 $13,800.
                 Parcel No.
                 72048009013.
                 Assessed value
                 $13,800.
                 Parcel No.
                 72048013001.
                 Assessed value
                 $19,300.
                 Parcel No.
                 72048300000.
                 Assessed value
                 $1,100.
                 Parcel No.
                 72011025000.
                 Assessed value
                 $16,500.
                 Parcel No.
                 72011045000.
                 Assessed value
                 $22,000.
                 Parcel No.
                 72011046000.
                 Assessed value
                 $22,000.
                 Parcel No.
                 72011052000.
                 Assessed value
                 $16,500.                      Fee simple                             $0.00                               $307,000.00




56.      Total of Part 9.                                                                                                $307,000.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
         Copy the total to line 88.

57.      Is a depreciation schedule available for any of the property listed in Part 9?

Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                  page 6



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Debtor        Willapa Logging Co., Inc.                                                    Case number (If known)
              Name


              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Restitution owed to Debtor by Bradley C. Smith. Order
           of Restitution entered March 28, 2008 under case
           number 07-1-00211-0 in Pacific County Superior Court in
           the amount of $17,122.53. Current balance owed
           $12,851.03 principal plus $27,349.69 of interest.                                                                     $12,851.03




78.        Total of Part 11.                                                                                                   $12,851.03
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                  page 7



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Debtor          Willapa Logging Co., Inc.                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,554.18

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $18,041.10

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $806,300.00

88. Real property. Copy line 56, Part 9.........................................................................................>                        $307,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $12,851.03

91. Total. Add lines 80 through 90 for each column                                                            $838,746.31           + 91b.              $307,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,145,746.31




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 8



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Fill in this information to identify the case:

Debtor name         Willapa Logging Co., Inc.

United States Bankruptcy Court for the:           WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Celtic Bank                                  Describe debtor's property that is subject to a lien                 $238,517.21               $125,000.00
      Creditor's Name                              2016 Komatsu XT460L-3 Feller Buncher,
                                                   Quadco Head, Auto Lube. Repairs being
      268 State St. #300                           made. Non-operational.
      Salt Lake City, UT 84111
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Celtic Bank                                  Describe debtor's property that is subject to a lien                 $110,655.77                 $80,000.00
      Creditor's Name                              1981 Madill 071 crawler yarder, Detroit 8V71,
                                                   mainlines, guidlines, cab.
      268 State St. #300
      Salt Lake City, UT 84111
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5




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Debtor      Willapa Logging Co., Inc.                                                               Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   County of Pacific                           Describe debtor's property that is subject to a lien                       $56,106.50     $307,000.00
      Creditor's Name                             Real property located in Pacific County:
                                                  Parcel No. 71004000018. Assessed value
                                                  $93,300.
                                                  Parcel No. 71004000020. Assessed value
                                                  $23,800.
                                                  Parcel No. 72048001005. Assessed value
                                                  $16,500.
      Treasurer's Office                          Parcel No. 72048001011. Assessed value
      PO Box 98                                   $13,800.
      South Bend, WA 98586
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   DLL Finance, LLC                            Describe debtor's property that is subject to a lien                       $15,980.04             $0.00
      Creditor's Name                             2012 Hyundai Robex 320LC-9 dangle head
      PO Box 77122                                processor, log max 7000xt head, high/wide,
      Minneapolis, MN                             elevated cab.
      55480-7702
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Financial Pacific Leasing                   Describe debtor's property that is subject to a lien                       $31,256.12      $25,000.00




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 5




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Debtor      Willapa Logging Co., Inc.                                                               Case number (if known)
            Name

      Creditor's Name                             2019 Eagle E6 motorized carriage
      3455 S. 344th Way Ste. 300
      Auburn, WA 98001
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   PNC Equipment Finance                       Describe debtor's property that is subject to a lien                        $36,365.67      $50,000.00
      Creditor's Name                             2014 Hyundai Robext R330LC-9A hydraulic
      655 Business Center Dr.                     log loader, jewel grapple, high/wide, elevated
      #250                                        cab, rear camera. Missing final drive.
      Horsham, PA 19044
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   PNC Equipment Finance                       Describe debtor's property that is subject to a lien                       $231,966.04     $125,000.00
      Creditor's Name                             2018 Doosan DX380LL-5 hydraulic log loader,
      655 Business Center Dr.                     jewel grapple, high/wide, elevated cab, rear
      #250                                        camera. Hrs: 10,400
      Horsham, PA 19044
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 5




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Debtor       Willapa Logging Co., Inc.                                                               Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.8    PNC Equipment Finance                       Describe debtor's property that is subject to a lien                        $96,058.00                 $0.00
       Creditor's Name                             2014 Doosan DX300LLL-3 Dangle Head
       655 Business Center Dr.                     processor, log max head, high/wide, elevated
       #250                                        cab. Hrs: 14,400.
       Horsham, PA 19044
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.9    Wells Fargo                                 Describe debtor's property that is subject to a lien                        $24,617.10            $70,000.00
       Creditor's Name                             2014 Doosan DX300LL-3 hydraulic log loader,
       PO Box 856941                               rotobec grapple, high/wide, elevated cab.
       Minneapolis, MN
       55485-6941
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $841,522.45

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 5




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Debtor    Willapa Logging Co., Inc.                                         Case number (if known)
          Name

      Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                    you enter the related creditor?   account number for
                                                                                                                      this entity
      Celtic Bank
      Attn: Trevor Rawlings                                                         Line   2.1
      268 S. State St. #300
      Salt Lake City, UT 84111

      Celtic Bank
      Attn: Leslie Rinaldi                                                          Line   2.1
      268 State St. #300
      Salt Lake City, UT 84111

      Celtic Bank
      Attn: Leslie Rinaldi                                                          Line   2.2
      268 State St. #300
      Salt Lake City, UT 84111

      Celtic Bank
      Attn: Trevor Rawlings                                                         Line   2.2
      268 S. State St. #300
      Salt Lake City, UT 84111

      PNC Equipment Finance
      Attn: Brian Wade                                                              Line   2.6
      995 Dalton Ave.
      Cincinnati, OH 45203

      PNC Equipment Finance
      Attn: Brian Wade                                                              Line   2.7
      995 Dalton Ave.
      Cincinnati, OH 45203

      PNC Equipment Finance
      Attn: Brian Wade                                                              Line   2.8
      995 Dalton Ave.
      Cincinnati, OH 45203




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5 of 5




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Fill in this information to identify the case:

Debtor name        Willapa Logging Co., Inc.

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                          $216,735.57          $216,735.57
          State of Washington                                 Check all that apply.
          Dept. of Labor and Industries                          Contingent
          PO Box 44510                                           Unliquidated
          Olympia, WA 98504-4510                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              L&I premiums
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          State of Washington                                 Check all that apply.
          Department of Revenue                                  Contingent
          PO Box 44171                                           Unliquidated
          Olympia, WA 98504                                      Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 3
                                                                                                              51546



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Debtor       Willapa Logging Co., Inc.                                                                  Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $5,533.91    $5,533.91
          State of Washington                                  Check all that apply.
          Employment Security Department                          Contingent
          PO Box 9046                                             Unliquidated
          Olympia, WA 98507                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Employment taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $4,549.03
          Bank of the Pacific                                                    Contingent
          1216 Skyview Drive                                                     Unliquidated
          Aberdeen, WA 98520                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Business credit card
          Last 4 digits of account number    2034
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $11,160.67
          Bank of the Pacific                                                    Contingent
          1216 Skyview Drive                                                     Unliquidated
          Aberdeen, WA 98520                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Business credit card
          Last 4 digits of account number    2913
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $23,000.00
          IFPS Corporation                                                       Contingent
          22522 29th Drive SE, #214                                              Unliquidated
          Bothell, WA 98021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Insurance premiums
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                        $0.00
          Progressive Casualty Insurance                                         Contingent
          6300 Wilson Mills Rd.                                                  Unliquidated
          Cleveland, OH 44143                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Notice only for insurance carrier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,149,133.26
          Richard Oatfield                                                       Contingent
          9040 22nd Way SE                                                       Unliquidated
          Olympia, WA 98513                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Promissory note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 3




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Debtor       Willapa Logging Co., Inc.                                                              Case number (if known)
             Name

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $37,691.03
          U.S. Bank                                                            Contingent
          PO Box 6335                                                          Unliquidated
          Fargo, ND 58125-6335                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Business credit card
          Last 4 digits of account number   3759
                                                                           Is the claim subject to offset?       No     Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 Unknown
          WA Dept. of Licensing                                                Contingent
          Prorate and Fuel Tax                                                 Unliquidated
          PO Box 9228                                                          Disputed
          Olympia, WA 98507-9228
                                                                           Basis for the claim:    Pending fuel tax audit
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                    related creditor (if any) listed?                 account number, if
                                                                                                                                                      any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                       222,269.48
5b. Total claims from Part 2                                                                           5b.   +    $                     1,225,533.99

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,447,803.47




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 3




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Fill in this information to identify the case:

Debtor name       Willapa Logging Co., Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Real estate contract for
           lease is for and the nature of        20 acres of land in
           the debtor's interest                 Skagit County.

               State the term remaining
                                                                                    Jeffrey J. Hermanson
           List the contract number of any                                          7 Washington Cemetery Road
                 government contract                                                Raymond, WA 98577




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1




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Fill in this information to identify the case:

Debtor name      Willapa Logging Co., Inc.

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Richard Oatfield            9040 22nd Way SE                                          Bank of the Pacific                D
                                      Olympia, WA 98513                                                                            E/F       3.1
                                                                                                                                   G




   2.2    Richard Oatfield            9040 22nd Way SE                                          U.S. Bank                          D
                                      Olympia, WA 98513                                                                            E/F       3.6
                                                                                                                                   G




   2.3    Ryan and                    18 Goldau Rd.                                             PNC Equipment                      D   2.6
          Jennifer Oatfield           Raymond, WA 98577                                         Finance                            E/F
                                                                                                                                   G




   2.4    Ryan and                    18 Goldau Rd.                                             PNC Equipment                      D   2.7
          Jennifer Oatfield           Raymond, WA 98577                                         Finance                            E/F
                                                                                                                                   G




   2.5    Ryan and                    18 Goldau Rd.                                             PNC Equipment                      D   2.8
          Jennifer Oatfield           Raymond, WA 98577                                         Finance                            E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2



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Debtor    Willapa Logging Co., Inc.                                               Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Ryan and                 18 Goldau Rd.                                       DLL Finance, LLC                   D   2.4
          Jennifer Oatfield        Raymond, WA 98577                                                                      E/F
                                                                                                                          G




  2.7     Ryan and                 18 Goldau Rd.                                       Celtic Bank                        D   2.1
          Jennifer Oatfield        Raymond, WA 98577                                                                      E/F
                                                                                                                          G




  2.8     Ryan and                 18 Goldau Rd.                                       Celtic Bank                        D   2.2
          Jennifer Oatfield        Raymond, WA 98577                                                                      E/F
                                                                                                                          G




  2.9     Ryan and                 18 Goldau Rd.                                       Bank of the Pacific                D
          Jennifer Oatfield        Raymond, WA 98577                                                                      E/F   3.2
                                                                                                                          G




  2.10    Ryan and                 18 Goldau Rd.                                       U.S. Bank                          D
          Jennifer Oatfield        Raymond, WA 98577                                                                      E/F   3.6
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2



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Fill in this information to identify the case:

Debtor name         Willapa Logging Co., Inc.

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,           Sources of revenue                     Gross revenue
      which may be a calendar year                                                   Check all that apply                   (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:                              Operating a business                          $123,078.07
      From 1/01/2023 to Filing Date
                                                                                         Other


      For prior year:                                                                    Operating a business                        $2,808,949.00
      From 1/01/2022 to 12/31/2022
                                                                                         Other


      For year before that:                                                              Operating a business                        $3,930,992.00
      From 1/01/2021 to 12/31/2021
                                                                                         Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                     Description of sources of revenue      Gross revenue from
                                                                                                                            each source
                                                                                                                            (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                  Sale of Equipment                                    $9,025.00


      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                  Restitution                                              $35.00


      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                  Contract Payment                                     $1,069.76




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1




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Debtor       Willapa Logging Co., Inc.                                                         Case number (if known)



                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)
      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                   Insurance Payment                                      $54,471.75


      For prior year:
      From 1/01/2022 to 12/31/2022                                                    Sale of Equipment                                     $102,397.95


      For prior year:
      From 1/01/2022 to 12/31/2022                                                    Restitution                                                $455.00


      For prior year:
      From 1/01/2022 to 12/31/2022                                                    Contract Payment                                         $5,883.68


Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
              Ally                                                12/31/2022                       $26,452.60           Secured debt
              PO Box 78234                                                                                              Unsecured loan repayments
              Phoenix, AZ 85062-8234
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other Debtor sold 2018
                                                                                                                      Chevy Silverado Crew Cab and
                                                                                                                      paid off outstanding debt.

      3.2.
              Associated Petroleum                                01/01/2023:                      $30,485.02           Secured debt
              2520 70th Ave. E.                                   $11,632.24                                            Unsecured loan repayments
              Tacoma, WA 98424                                    01/17/2023:                                           Suppliers or vendors
                                                                  $10,646.66                                            Services
                                                                  02/01/2023:
                                                                  $8,206.12                                             Other Fuel.


      3.3.
              IFPS Corp.                                          01/10/2023:                      $26,387.46           Secured debt
              22522 29th Drive SE, #214                           $9,803.85                                             Unsecured loan repayments
              Bothell, WA 98021                                   02/21/2023:                                           Suppliers or vendors
                                                                  $8,331.61                                             Services
                                                                  03/17/2023:
                                                                  $8,252.00                                             Other Insurance premiums.


      3.4.
              PNC Equipment Finance                               01/22/2023:                        $8,549.49          Secured debt
              655 Business Center Dr. #250                        $8,549.49                                             Unsecured loan repayments
              Horsham, PA 19044
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 2




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Debtor       Willapa Logging Co., Inc.                                                          Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.5.
              Celtic Bank                                          01/30/2023:                        $8,756.48          Secured debt
              268 State St. #300                                   $8,756.48                                             Unsecured loan repayments
              Salt Lake City, UT 84111
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.6.
              Borden's Auto Parts, Inc.                            03/01/2023:                      $14,814.97           Secured debt
              580 Commercial St.                                   $14,814.97                                            Unsecured loan repayments
              Raymond, WA 98577
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Jennifer Oatfield                                    01/03/2023:                      $10,000.00
              18 Goldau Rd.                                        $10,000.
              Raymond, WA 98577                                    Money was
              Wife                                                 returned to
                                                                   debtor on
                                                                   01/03/2023.

      4.2.    Richard Oatfield                                     04/15/2022:                      $17,056.68         Payments due under terms of
              9040 22nd Way SE                                     $1,421.39                                           promissory note.
              Olympia, WA 98513                                    05/16/2022:
              Father                                               $1,421.39
                                                                   06/15/2022:
                                                                   $1,421.39
                                                                   07/15/2022:
                                                                   $1,421.39
                                                                   08/10/2022:
                                                                   $1,421.39
                                                                   09/12/2022:
                                                                   $1,421.39
                                                                   10/17/2022:
                                                                   $1,421.39
                                                                   11/15/2022:
                                                                   $1,421.39
                                                                   12/15/2022:
                                                                   $1,421.39
                                                                   01/13/2023:
                                                                   $1,421.39
                                                                   02/10/2023:
                                                                   $1,421.39
                                                                   03/15/2023:
                                                                   $1,421.39

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

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Debtor      Willapa Logging Co., Inc.                                                             Case number (if known)



          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case               Court or agency's name and                Status of case
             Case number                                                            address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                  Dates given                            Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




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Debtor        Willapa Logging Co., Inc.                                                         Case number (if known)



                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Morton McGoldrick, PLLC
                820 A Street, Suite 600                  Attorney Fees: $10,000
                Tacoma, WA 98402                         Filing Fee: $338                                              03/16/2023                $10,338.00

                Email or website address
                blwittner@bvmm.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

         None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value
      13.1                                             Sold 2018 Chevy Silverado Crew Cab for
      .                                                $28,000. Paid $26,452.60 to pay secured
               Pacific Log Processing                  debt owed on truck to Ally Bank.
               4201 Treasize Road                      Remaining proceeds of $1,547.40 was
               Raymond, WA 98577                       used to pay other business debt.                          12/30/2022                      $28,000.00

               Relationship to debtor
               None


      13.2 PGH Excavating, Inc.
      .    1891 Garrett St.                            Sold welder, misc. old tires, heater tank
               Enumclaw, WA 98022                      assembly, and oil tanks.                                  01/21/2023                       $6,872.95

               Relationship to debtor
               None


      13.3 Wayne Johnston                              Sold 2006 Chevy Silverado
      .                                                (3GCEK14V66G148458).                                      01/24/2023                       $1,000.00

               Relationship to debtor
               None


      13.4 Justin Johnston                             Sold 2003 Chevy 2KH
      .                                                (1GCHK24U03E361709).                                      01/24/2023                       $1,000.00

               Relationship to debtor
               None




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Debtor      Willapa Logging Co., Inc.                                                       Case number (if known)



             Who received transfer?               Description of property transferred or                     Date transfer          Total amount or
             Address                              payments received or debts paid in exchange                was made                        value
      13.5 Dave Westerland                        Sold 1987 KW Construction
      .                                           (1NKWLB9X5HS341275).                                       01/25/2023                  $1,000.00

             Relationship to debtor
             None


      13.6 Two Feathers Trucking, LLC
      .    23088 W. Sheffler Rd.                  Sold 1990 Cascade Log Trailer
             Elmira, OR 97437                     (1C9LE2621L0249554).                                       01/21/2023                  $1,000.00

             Relationship to debtor
             None


      13.7 Putnam Trucking, Inc.
      .    3312 Ocean Beach Highway
             Longview, WA 98632                   Sold 1997 HM (WA94180938)                                  01/21/2023                  $6,500.00

             Relationship to debtor
             None


      13.8 Greg Mullins
      .                                           Sold 1997 Ford (1FDNF80C3VVA29530)                         01/21/2023                  $3,000.00

             Relationship to debtor
             None


      13.9 Wayne Johnston                         Sold 2004 Chevy SK1
      .                                           (1GCEK19T94E234424)                                        01/21/2023                      $525.00

             Relationship to debtor
             None


      13.1 Josh Klompken                          Sold 2004 Ford F4D
      0.                                          (1FDXF47S14ED66632)                                        01/17/2023                  $1,300.00

             Relationship to debtor
             None


      13.1 Josh Kleompken
      1.                                          Sold 1995 Build (4RJHT1827F1104927)                        01/17/2023                  $1,000.00

             Relationship to debtor
             None


      13.1 Wayne Johnston
      2.                                          Sold 2003 Chevy (1GCK23U93F234050).                        01/17/2023                      $350.00

             Relationship to debtor
             None


      13.1 Justin Johnston                        Sold 2006 Chevy 2KH
      3.                                          (1GCHK23U86F155649)                                        01/17/2023                      $350.00

             Relationship to debtor
             None



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Debtor      Willapa Logging Co., Inc.                                                            Case number (if known)



 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.
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Debtor      Willapa Logging Co., Inc.                                                           Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None




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Debtor      Willapa Logging Co., Inc.                                                           Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Michael J. Stoney II
                    PO Box 3037
                    Elma, WA 98541

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Ryan and Jennifer Oatfield
                    18 Goldau Rd.
                    Raymond, WA 98577

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Ryan Oatfield                           18 Goldau Rd.
                                              Raymond, WA 98577



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 9




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Debtor       Willapa Logging Co., Inc.                                                         Case number (if known)



    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient           Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Ryan Oatfield
      .    18 Goldau Rd.                              $65,940 net pay. Debtor also paid $1,000                  04/01/2022 -
              Raymond, WA 98577                       per month for health insurance.                           Present             Salary.

              Relationship to debtor
              Owner


      30.2                                                                                                                          Paid
      .                                                                                                                             mother-in-law
                                                                                                                                    $500 per month
                                                                                                                                    for handling
              Debbie Williams                                                                                                       trucking and
              881 Willapa Road                                                                                  04/01/2022 -        payroll
              Raymond, WA 98577                       $4,250.00                                                 Present             calculations.

              Relationship to debtor
              Mother-in-law


      30.3 Richard Oatfield                                                                                                         Payment under
      .    9040 22nd Way SE                           Monthly payment of $1,421.39 for past 12                  04/15/2022 -        terms of
              Olympia, WA 98513                       months for a total of $17,056.68.                         03/15/2022          promissory note.

              Relationship to debtor
              Father


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10




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Debtor      Willapa Logging Co., Inc.                                                           Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         March 31, 2023

/s/ Ryan Oatfield                                               Ryan Oatfield
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 11




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Western District of Washington
 In re       Willapa Logging Co., Inc.                                                                        Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     March 31, 2023                                                           /s/ Brett L. Wittner
     Date                                                                     Brett L. Wittner 27657
                                                                              Signature of Attorney
                                                                              Morton McGoldrick, PLLC
                                                                              820 A Street, Suite 600
                                                                              Tacoma, WA 98402
                                                                              253-473-7200 Fax: 253-272-4338
                                                                              blwittner@bvmm.com
                                                                              Name of law firm




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                                               United States Bankruptcy Court
                                                    Western District of Washington
 In re   Willapa Logging Co., Inc.                                                                Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     March 31, 2023                                 /s/ Ryan Oatfield
                                                         Ryan Oatfield/President
                                                         Signer/Title




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                        BANK OF THE PACIFIC
                        1216 SKYVIEW DRIVE
                        ABERDEEN, WA 98520


                        CELTIC BANK
                        268 STATE ST. #300
                        SALT LAKE CITY, UT 84111


                        CELTIC BANK
                        ATTN: TREVOR RAWLINGS
                        268 S. STATE ST. #300
                        SALT LAKE CITY, UT 84111


                        CELTIC BANK
                        ATTN: LESLIE RINALDI
                        268 STATE ST. #300
                        SALT LAKE CITY, UT 84111


                        COUNTY OF PACIFIC
                        TREASURER'S OFFICE
                        PO BOX 98
                        SOUTH BEND, WA 98586


                        DLL FINANCE, LLC
                        PO BOX 77122
                        MINNEAPOLIS, MN 55480-7702


                        FINANCIAL PACIFIC LEASING
                        3455 S. 344TH WAY STE. 300
                        AUBURN, WA 98001


                        IFPS CORPORATION
                        22522 29TH DRIVE SE, #214
                        BOTHELL, WA 98021


                        JEFFREY J. HERMANSON
                        7 WASHINGTON CEMETERY ROAD
                        RAYMOND, WA 98577


                        PNC EQUIPMENT FINANCE
                        655 BUSINESS CENTER DR. #250
                        HORSHAM, PA 19044




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                    PNC EQUIPMENT FINANCE
                    ATTN: BRIAN WADE
                    995 DALTON AVE.
                    CINCINNATI, OH 45203


                    PROGRESSIVE CASUALTY INSURANCE
                    6300 WILSON MILLS RD.
                    CLEVELAND, OH 44143


                    RICHARD OATFIELD
                    9040 22ND WAY SE
                    OLYMPIA, WA 98513


                    RYAN AND JENNIFER OATFIELD
                    18 GOLDAU RD.
                    RAYMOND, WA 98577


                    STATE OF WASHINGTON
                    DEPT. OF LABOR AND INDUSTRIES
                    PO BOX 44510
                    OLYMPIA, WA 98504-4510


                    STATE OF WASHINGTON
                    DEPARTMENT OF REVENUE
                    PO BOX 44171
                    OLYMPIA, WA 98504


                    STATE OF WASHINGTON
                    EMPLOYMENT SECURITY DEPARTMENT
                    PO BOX 9046
                    OLYMPIA, WA 98507


                    U.S. BANK
                    PO BOX 6335
                    FARGO, ND 58125-6335


                    WA DEPT. OF LICENSING
                    PRORATE AND FUEL TAX
                    PO BOX 9228
                    OLYMPIA, WA 98507-9228


                    WELLS FARGO
                    PO BOX 856941
                    MINNEAPOLIS, MN 55485-6941




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                                         United States Bankruptcy Court
                                             Western District of Washington
 In re   Willapa Logging Co., Inc.                                                  Case No.
                                                            Debtor(s)               Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Willapa Logging Co., Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




March 31, 2023                                 /s/ Brett L. Wittner
Date                                           Brett L. Wittner 27657
                                               Signature of Attorney or Litigant
                                               Counsel for Willapa Logging Co., Inc.
                                               Morton McGoldrick, PLLC
                                               820 A Street, Suite 600
                                               Tacoma, WA 98402
                                               253-473-7200 Fax:253-272-4338
                                               blwittner@bvmm.com




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